      Case 4:12-cr-00001 Document 29 Filed on 06/15/12 in TXSD Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

UNITED STATES OF AMERICA                          §
                                                  §
                                                  §
                                                  §
VS.                                               §     CRIMINAL NO. H-12-01
                                                  §
                                                  §
NATHANIEL CHILO                                   §
SAVANNAH WILLIAMS                                 §


                                                ORDER

       Defendant Williams filed an unopposed motion for continuance, (Docket Entry No. 28).

The government and the codefendant are unopposed. The court finds that the interests of justice are

served by granting this continuance and that those interests outweigh the interests of the public and

the defendants in a speedy trial. The motion for continuance is GRANTED. The docket control

order is amended as follows:

       Motions are to be filed by:                     July 30, 2012
       Responses are to be filed by:                   August 13, 2012
       Pretrial conference is reset to:                August 20 2012 at 8:45 a.m.
       Jury trial and selection are reset to:          August 27, 2012 at 9:00 a.m.

               SIGNED on June 15, 2012, at Houston, Texas.


                                                      ______________________________________
                                                               Lee H. Rosenthal
                                                         United States District Judge
